        Case 3:10-cr-03044-WQH                          Document 1719 Filed 06/06/12                              PageID.11372                 Page 1
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    'IIoAO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
               Sheet 1                                                                                                     JUN - 6 2012

                                              UNITED STATES DISTRICT Co
                                                SOUTHERN DISTRICT OF CALIFORNIA:-----.4-J.f4:,I~22!!!XJ

                    UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE
                                        v.                                         (For Offenses Committed On or After November I, 1987)

                 JUAN CARLOS RIQUE AGUIRRE (32)                                    Case Num ber: 1OCR3044-WQH
                                                                                   MARTIN MOLINA, CJA
                                                                                   Defendant's Attorney
    REGISTRATION NO. 23627298

    D
    THE DEFENDANT:
    [8J pleaded guilty to count(s) I OF THE SUPERSEDING INDICTMENT

    D was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea ofnot guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(s)
18 USC 1962 (d)                        Conspiracy to Conduct Enterprise Affairs Through a Pattern of Racketeering                          I
                                      Activity




        The defendant is sentenced as provided in pages 2 througb _ _..;.4_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s) ---------------------------
 [8J Count(s) Remaining countslUnderlying indictments         is D are[8J dismissed on the motion oftbe United States.
 [8J Assessment: $100.00


  [8J Fine waived                                   D Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change ofname, residence,
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               MAY 30, 2012




                                                                             HON. WILLIAM Q. HAYES
                                                                              UNITED STATES DISTRl

                                                                                                                                               10CR3044-WQH
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AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment - Page _ _2 _ of
 DEFENDANT: JUAN CARLOS RIQUE AGUIRRE (32)
 CASE NUMBER: lOCRJ044-WQH
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
         97 months



    D Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         That the defendant participate in the Residential Drug Abuse Program (RDAP) and be designated to a facility in the Western
         Region



     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
           D at                                    Da.m.     Dp·m.         on
               as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D    before
                        -------------------------------------------------------------------------
          D    as notified by the United States Marshal.
          D    as notified by the Probation or Pretrial Services Office.


                                                                RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                 to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                      By
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                   lOCRJ044-WQH
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AO 245B (CASD) (Rcv. 12111) Judgment in a Criminal Case
           Shcet 3 - Supervised Release
                                                                                                               Judgment-Page    ~         of _ _..:.4_ __
DEFENDANT: JUAN CARLOS RIQUE AGUIRRE (32)
CASE NUMBER: IOCR3044-WQH
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
4 years

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shaU not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shaU not illegaUy possess a controlled substance. The defendant shaU refrain from any unlawful use of a controlled
substance. The defendant shaU submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_drug tests per month during
the term of supervision, unless otherwise ordered by court.

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicab Ie.)
       The defendant shaU not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shal1 cooperate in the col1ection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shal1 comply with tfie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted ofa qualifying offense. (Check if applicable.)
D The defendant shaU participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shal1 also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  I)      the defendant shaU not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shaU report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)      the defendant shaU answer truthfuUy al1 inquiries by the probation officer and foUow the instructions of the probation officer;
  4)      the defendant shaU support his or her dependents and meet other family responsibilities;
  5)      the defendant shaU work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shaU notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shaU refrain from excessive use of alcohol and shaU not purchase, possess, use, distribute, or administer any
          controUed substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where control1ed substances are iUegally sold, used, distributed, or administered;
  9)      the defendant shaU not associate with any persons engaged in criminal activity and shaU not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
 10)      the defendant shaU permit a probation officer to visit him or her at any time at home or elsewhere and shaU permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shaU not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as directed by the probation officer, the defendant shaU notify third parties of risks that may be occasioned by the defendant's criminal
          record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant's compliance with such notification requirement.

                                                                                                                                      IOCR3044-WQH
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       AO 245B (CASD) (Rev. 12111 Judgment in a Criminal Case
                  Sheet 4 - Special Conditions
                                                                                                        Judgment~Page   _ _4_ of _ _4.;....._ _
       DEFENDANT: JUAN CARLOS RIQUE AGUIRRE (32)
       CASE NUMBER: lOCRJ044-WQH




                                            SPECIAL CONDITIONS OF SUPERVISION
I8J Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
I8J Not associate with any known gang members or associates, including the Fernando Sanchez Arellano (FSO) organization.
D Not reenter the United States illegally.
I8J Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
I8J Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the presentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
    release of information between the probation officer and the treatment provider. May be required to contribute to the costs of services
    rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure ofpersonaJ and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
I8J Resolve all outstanding warrants within 60 days.
D Complete             hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
I8J Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                   IOCRJ044-WQH
